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 8                          UNITED STATES DISTRICT COURT

 9                         CENTRAL DISTRICT OF CALIFORNIA

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       CHRISTA JAMES,                   )   Case No. EDCV 18-1419-GW (JPR)
11                                      )
                          Plaintiff,    )
12                                      )   ORDER ACCEPTING FINDINGS AND
                     v.                 )   RECOMMENDATIONS OF U.S.
13                                      )   MAGISTRATE JUDGE
       ANDREW SAUL, Commissioner        )
14     of Social Security,              )
                                        )
15                        Defendant.    )
                                        )
16
17          Pursuant to 28 U.S.C. § 636, the Court has reviewed the

18 Complaint, Joint Stipulation, Administrative Record, and all
19 other records on file as well as the Report and Recommendation of
20 U.S. Magistrate Judge.         No objections to the R. & R. have been

21 filed.
22          The Court accepts the findings and recommendations of the

23 Magistrate Judge.         IT THEREFORE IS ORDERED that judgment be

24 entered in Plaintiff’s favor and that this matter be remanded for
25 further proceedings consistent with the Report and
26 Recommendation.
27 DATED: January 11, 2021
                                            GEORGE H. WU
28                                          U.S. DISTRICT JUDGE
